       Case 2:21-cv-01765-WBV-DMD Document 7 Filed 10/18/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

PONTCHARTRAIN PARTNERS, LLC,                      §
                                                  §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §    CIVIL ACTION NO. 2:21-cv-01765-
                                                  §    WBV-DMD
                                                  §
TIERRA DE LOS LAGOS, LLC d/b/a                    §
BEE SAND COMPANY                                  §    JURY TRIAL DEMANDED
                                                  §
                                                  §
                                                  §
       Defendant.                                 §

 BEE SAND’S MOTION TO DISMISS ANTICIPATORY LAWSUIT AND MOTION TO
  TRANSFER VENUE TO THE SOUTHERN DISTRICT OF TEXAS, GALVESTON
                   DIVISION, IN THE ALTERNATIVE

       Pursuant to U.S.C. 28 U.S.C. § 1404(a), Defendant Tierra De Los Lagos, LLC d/b/a Bee

Sand Company (“Bee Sand” or “Defendant”), files this Motion to Dismiss Anticipatory Lawsuit

and Motion to Transfer Venue to the Southern District of Texas, Galveston Division, in the

alternative and respectfully shows as follows:

       1.      Plaintiff filed this improper declaratory judgment action that was anticipatory in

nature. The Court should decline to exercise jurisdiction over this action because it was filed by

the Plaintiff in anticipation of Defendant’s refiling in order to secure a more favorable forum.

       2.      The issues in both Plaintiff’s instant action and Defendant’s action in Galveston

County substantially overlap in that they both identically center around the parties’ contract

relating to the improvement of Texas City’s vital levee system and the Texas City Dike. Plaintiff

anticipatorily filed this declaratory judgment action after Defendant dismissed its Previous Action

that was filed in Galveston County and after Defendant later notified Plaintiff of its intent to refile
       Case 2:21-cv-01765-WBV-DMD Document 7 Filed 10/18/21 Page 2 of 3




in that same county. Thus, the Court should dismiss Plaintiff’s action and allow Defendant to

proceed as the proper plaintiff in Galveston County.

        3.      If the Court does decide to exercise its discretion to exercise jurisdiction over this

lawsuit, the Court should transfer this case to the Southern District of Texas, Galveston Division,

in the alternative.

        4.      This case could have been brought in the Southern District of Texas because the

execution and performance of the contract at issue all occurred in Galveston County, thus venue

is proper in the Southern District of Texas as a district in which a substantial part of the events

giving rise to this action occurred. Defendant is also subject to personal jurisdiction in the Southern

District of Texas.

        5.      Plaintiff is entitled to no deference in selecting a forum because this is an

anticipatory suit. Plaintiff deprived Defendant of its right of being the true plaintiff and select the

proper forum by anticipatorily filing this suit in the Orleans Parish after being informed of

Defendant’s intention to refile in Galveston County.

        6.      The Eastern District of Louisiana has virtually no factual connection to the case

except that it is the base location of Plaintiff. The subject matter of the parties’ disputed contract

is located in the Southern District of Texas, the execution and performance of the contract was

completed there, Plaintiff continuously conducts business there, and it is the more convenient,

efficient, and far less expensive venue for all parties and witnesses as the vast majority, if not all

witnesses, reside in the Southern District of Texas.

        For the reasons set forth herein, and in the supporting memorandum of law, which is

incorporated herein as if set forth in full, Bee Sand respectfully requests that this Court dismiss




                                                 -2-
       Case 2:21-cv-01765-WBV-DMD Document 7 Filed 10/18/21 Page 3 of 3




this action or in the alternative, transfer this action to the Southern District of Texas, pursuant to

U.S.C. 28 U.S.C. § 1404(a).

                                           Respectfully submitted,




                                           By: /s/ Robert H. Ford
                                              Robert H. Ford
                                              Fed ID No. 1392569
                                              rford@bradley.com
                                              Melissa S. Gutierrez
                                              Fed ID No. 2255351
                                              mgutierrez@bradley.com
                                              600 Travis, Suite 4800
                                              Houston, Texas 77002
                                              713-576-0300 – Telephone
                                              713-576-0301 – Facsimile

                                               ATTORNEY FOR DEFENDANT
                                               TIERRA DE LOS LAGOS, LLC d/b/a
                                               BEE SAND COMPANY




                                                 -3-
